(Official Form 1) (12/03)
FORM B1                               United States Bankruptcy Court
                                                 Northern District of Ohio
                                                                                                                                             Voluntary Petition
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Name of Debtor (if individual, enter Last, First, Middle):                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
 Solomon, Ruby Frances


All Other Names used by the Debtor in the last 6 years                                       All Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and trade names):                                                  (include married, maiden, and trade names):




Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No.                       Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No.
(if more than one, state all):                                                               (if more than one, state all):
                      xxx-xx-9990
Street Address of Debtor (No. & Street, City, State & Zip Code):                             Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
  3580 East 143rd Street
  Cleveland, OH 44120


County of Residence or of the                                                                County of Residence or of the
Principal Place of Business:              Cuyahoga                                           Principal Place of Business:
Mailing Address of Debtor (if different from street address):                                Mailing Address of Joint Debtor (if different from street address):




Location of Principal Assets of Business Debtor
(if different from street address above):


                                                 Information Regarding the Debtor (Check the Applicable Boxes)
Venue (Check any applicable box)
    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
    preceding the date of this petition or for a longer part of such 180 days than in any other District.
       There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                Type of Debtor (Check all boxes that apply)                                             Chapter or Section of Bankruptcy Code Under Which
       Individual(s)                         Railroad                                                             the Petition is Filed (Check one box)
       Corporation                           Stockbroker                                              Chapter 7                   Chapter 11          Chapter 13
       Partnership                           Commodity Broker                                         Chapter 9                   Chapter 12
       Other                                 Clearing Bank                                            Sec. 304 - Case ancillary to foreign proceeding
                   Nature of Debts (Check one box)                                                                        Filing Fee (Check one box)
       Consumer/Non-Business               Business                                                   Full Filing Fee attached
                                                                                                      Filing Fee to be paid in installments (Applicable to individuals only.)
         Chapter 11 Small Business (Check all boxes that apply)                                       Must attach signed application for the court's consideration
       Debtor is a small business as defined in 11 U.S.C. § 101                                       certifying that the debtor is unable to pay fee except in installments.
       Debtor is and elects to be considered a small business under                                   Rule 1006(b). See Official Form No. 3.
       11 U.S.C. § 1121(e) (Optional)
Statistical/Administrative Information (Estimates only)                                                                                      THIS SPACE IS FOR COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there
      will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors                    1-15          16-49       50-99   100-199          200-999    1000-over



Estimated Assets
     $0 to            $50,001 to   $100,001 to   $500,001 to       $1,000,001 to   $10,000,001 to        $50,000,001 to       More than
     $50,000          $100,000     $500,000      $1 million        $10 million     $50 million           $100 million         $100 million



Estimated Debts
     $0 to            $50,001 to   $100,001 to   $500,001 to       $1,000,001 to   $10,000,001 to        $50,000,001 to       More than
     $50,000          $100,000     $500,000      $1 million        $10 million     $50 million           $100 million         $100 million




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(Official Form 1) (12/03)
                                                                              Name of Debtor(s):                                    FORM B1, Page 2
Voluntary Petition
(This page must be completed and filed in every case)                           Solomon, Ruby Frances

                              Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
Location                                                                Case Number:                          Date Filed:
Where Filed: - None -
         Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                    Case Number:                          Date Filed:
- None -
District:                                                                     Relationship:                         Judge:


                                                                       Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                 Exhibit A
I declare under penalty of perjury that the information provided in this      (To be completed if debtor is required to file periodic reports (e.g., forms
petition is true and correct.                                                 10K and 10Q) with the Securities and Exchange Commission pursuant to
[If petitioner is an individual whose debts are primarily consumer debts      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is
and has chosen to file under chapter 7] I am aware that I may proceed         requesting relief under chapter 11)
under chapter 7, 11, 12, or 13 of title 11, United States Code, understand          Exhibit A is attached and made a part of this petition.
the relief available under each such chapter, and choose to proceed under
chapter 7.                                                                                                        Exhibit B
I request relief in accordance with the chapter of title 11, United States                      (To be completed if debtor is an individual
Code, specified in this petition.                                                               whose debts are primarily consumer debts)
                                                                              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                              that I have informed the petitioner that [he or she] may proceed under
 X       /s/ Ruby Frances Solomon
                                                                              chapter 7, 11, 12, or 13 of title 11, United States Code, and have
     Signature of Debtor Ruby Frances Solomon                                 explained the relief available under each such chapter.

 X                                                                             X    /s/ Michael Attali 0075724 / Mark Knevel     March
                                                                                                                                    0029285
                                                                                                                                         21, 2005
     Signature of Joint Debtor                                                     Signature of Attorney for Debtor(s)          Date
                                                                                    Michael Attali 0075724 / Mark Knevel 0029285
                                                                                                                Exhibit C
     Telephone Number (If not represented by attorney)                        Does the debtor own or have possession of any property that poses
        March 21, 2005                                                        a threat of imminent and identifiable harm to public health or
                                                                              safety?
     Date
                                                                                     Yes, and Exhibit C is attached and made a part of this petition.
                            Signature of Attorney                                    No
 X          /s/ Michael Attali 0075724 / Mark Knevel 0029285
                                                                                               Signature of Non-Attorney Petition Preparer
     Signature of Attorney for Debtor(s)
                                                                              I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.
      Michael Attali 0075724 / Mark Knevel 0029285                            § 110, that I prepared this document for compensation, and that I have
     Printed Name of Attorney for Debtor(s)                                   provided the debtor with a copy of this document.
      KNEVEL & ASSOCIATES CO LPA
     Firm Name                                                                     Printed Name of Bankruptcy Petition Preparer
      629 Euclid Avenue - Suite 519
      Cleveland, OH 44114
                                                                                   Social Security Number (Required by 11 U.S.C.§ 110(c).)
     Address
                              Email: mknevel@knevel.com
      (216) 623-1901 Fax: (216) 523-7801
     Telephone Number                                                              Address
      March 21, 2005
     Date                                                                          Names and Social Security numbers of all other individuals who
                                                                                   prepared or assisted in preparing this document:
               Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this
petition on behalf of the debtor.
The debtor requests relief in accordance with the chapter of title 11,             If more than one person prepared this document, attach additional
United States Code, specified in this petition.                                    sheets conforming to the appropriate official form for each person.

 X                                                                             X
     Signature of Authorized Individual                                            Signature of Bankruptcy Petition Preparer


     Printed Name of Authorized Individual                                         Date

                                                                                   A bankruptcy petition preparer's failure to comply with the
     Title of Authorized Individual                                                provisions of title 11 and the Federal Rules of Bankruptcy
                                                                                   Procedure may result in fines or imprisonment or both. 11
                                                                                   U.S.C. § 110; 18 U.S.C. § 156.
     Date



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                                                                   United States Bankruptcy Court
                                                                              Northern District of Ohio
  In re          Ruby Frances Solomon                                                                                  Case No.
                                                                                                             ,
                                                                                              Debtor
                                                                                                                       Chapter                  7




                                                                        SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets.
     Add the amounts from Schedules D, E, and F to determine the total amount of the debtor's liabilities.


                                                                                                                    AMOUNTS SCHEDULED

        NAME OF SCHEDULE                                   ATTACHED NO. OF                        ASSETS                LIABILITIES           OTHER
                                                            (YES/NO) SHEETS

A - Real Property                                                  Yes                2                60,000.00


B - Personal Property                                              Yes                4                11,522.00


C - Property Claimed as Exempt                                     Yes                1


D - Creditors Holding Secured                                      Yes                1                                           61,500.00
      Claims
E - Creditors Holding Unsecured                                    Yes                1                                                0.00
      Priority Claims
F - Creditors Holding Unsecured                                    Yes                3                                           17,938.93
      Nonpriority Claims
G - Executory Contracts and                                        Yes                1
      Unexpired Leases

H - Codebtors                                                      Yes                1


I - Current Income of Individual                                   Yes                1                                                                  1,942.17
      Debtor(s)
J - Current Expenditures of                                        Yes                1                                                                  1,975.54
      Individual Debtor(s)

   Total Number of Sheets of ALL Schedules                                            16


                                                                              Total Assets             71,522.00


                                                                                                Total Liabilities                 79,438.93




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   In re          Ruby Frances Solomon                                                                                   Case No.
                                                                                                                ,
                                                                                                 Debtor

                                                                   SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired
Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. (See Schedule D.) If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.


                                                                                                                Husband, Current Market Value of
                                                                                                                           Debtor's Interest in
                  Description and Location of Property                                 Nature of Debtor's        Wife,      Property, without             Amount of
                                                                                       Interest in Property      Joint, or                               Secured Claim
                                                                                                               Community Deducting  any Secured
                                                                                                                           Claim or Exemption

3580 East 143rd Street                                                                 Debtor is sole owner.         -               60,000.00                   51,500.00
Cleveland, OH 44120
See attached legal description
Liens:
1) Chase Mort $51,500
   To retain collateral and make regular payments




                                                                                                                Sub-Total >          60,000.00          (Total of this page)

                                                                                                                     Total >         60,000.00
   0      continuation sheets attached to the Schedule of Real Property                                         (Report also on Summary of Schedules)
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  In re          Ruby Frances Solomon                                                                                         Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

     Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

     If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

1.     Cash on hand                                               Cash                                                                   -                            10.00

2.     Checking, savings or other financial                       Fifth Third Bank                                                       -                          200.00
       accounts, certificates of deposit, or                      Checking $100
                                                                  Savings $100
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                          X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                           Household goods & furnishings. No single item                          -                          200.00
       including audio, video, and                                valued at more than $200.
       computer equipment.

5.     Books, pictures and other art                              Misc: Books, Pictures, Video tapes, CD's                               -                            25.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                           Clothing                                                               -                          100.00

7.     Furs and jewelry.                                          Misc: Watch, Jewerly                                                   -                            50.00

                                                                  Bracelets (6)                                                          -                          300.00
                                                                  $50 @

8.     Firearms and sports, photographic,                         20 ga shotgun                                                          -                            50.00
       and other hobby equipment.




                                                                                                                                         Sub-Total >              935.00
                                                                                                                             (Total of this page)

  3      continuation sheets attached to the Schedule of Personal Property

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  In re          Ruby Frances Solomon                                                                                         Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                      (Continuation Sheet)
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

9.     Interests in insurance policies.                       X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                          X
    issuer.

11. Interests in IRA, ERISA, Keogh, or                        X
    other pension or profit sharing
    plans. Itemize.

12. Stock and interests in incorporated                       X
    and unincorporated businesses.
    Itemize.

13. Interests in partnerships or joint                        X
    ventures. Itemize.

14. Government and corporate bonds                            X
    and other negotiable and
    nonnegotiable instruments.

15. Accounts receivable.                                      X

16. Alimony, maintenance, support, and                        X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

17. Other liquidated debts owing debtor                           2004 Federal $334 and State $53 Tax Refunds.                           -                          387.00
    including tax refunds. Give
    particulars.

18. Equitable or future interests, life                       X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule of Real Property.

19. Contingent and noncontingent                              X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

                                                                                                                                         Sub-Total >              387.00
                                                                                                                             (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Ruby Frances Solomon                                                                                         Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                      (Continuation Sheet)
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

20. Other contingent and unliquidated                             Age discrimination cases                                               -                      Unknown
    claims of every nature, including                             1) Custom Graphic
                                                                      Debtor was working as a temp. Her supervisor
    tax refunds, counterclaims of the
                                                                  placed the initials NR on her paysheet after her first
    debtor, and rights to setoff claims.                          day, meaning No Return. When confronted by
    Give estimated value of each.                                 debtor he said she was too old.
                                                                  2) Sordex Ho
                                                                      Debtor was working as a temp. Her supervisor
                                                                  told her she was an old woman. Debtor still works
                                                                  for this company.

                                                                  Debtor has not spoken with counsel regarding
                                                                  these claims.

21. Patents, copyrights, and other                            X
    intellectual property. Give
    particulars.

22. Licenses, franchises, and other                           X
    general intangibles. Give
    particulars.

23. Automobiles, trucks, trailers, and                            2001 Chevy Impala                                                      -                      10,000.00
    other vehicles and accessories.                               Lien: GMAC $10,000
                                                                       To be surrendered

                                                                  1989 Chevy Caprice                                                     -                          200.00
                                                                  No lien

24. Boats, motors, and accessories.                           X

25. Aircraft and accessories.                                 X

26. Office equipment, furnishings, and                        X
    supplies.

27. Machinery, fixtures, equipment, and                       X
    supplies used in business.

28. Inventory.                                                X

29. Animals.                                                  X

30. Crops - growing or harvested. Give                        X
    particulars.




                                                                                                                                         Sub-Total >          10,200.00
                                                                                                                             (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Ruby Frances Solomon                                                                                         Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                      (Continuation Sheet)
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

31. Farming equipment and                                     X
    implements.

32. Farm supplies, chemicals, and feed.                       X

33. Other personal property of any kind                       X
    not already listed.




                                                                                                                                         Sub-Total >                  0.00
                                                                                                                             (Total of this page)
                                                                                                                                              Total >         11,522.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                                     (Report also on Summary of Schedules)
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   In re          Ruby Frances Solomon                                                                                  Case No.
                                                                                                                ,
                                                                                                Debtor

                                                SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor elects the exemptions to which debtor is entitled under:
 [Check one box]
    11 U.S.C. §522(b)(1): Exemptions provided in 11 U.S.C. §522(d). Note: These exemptions are available only in certain states.
    11 U.S.C. §522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has
                             been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day
                             period than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest
                             is exempt from process under applicable nonbankruptcy law.

                                                                                        Specify Law Providing               Value of        Current Market Value of
                    Description of Property                                                Each Exemption                   Claimed            Property Without
                                                                                                                           Exemption         Deducting Exemption
Cash on Hand
Cash                                                                              Ohio Rev. Code Ann. §                             10.00                     10.00
                                                                                  2329.66(A)(4)(a)

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Fifth Third Bank                                  Ohio Rev. Code Ann. § 2329.66(A)(18)                                             200.00                    200.00
Checking $100
Savings $100

Household Goods and Furnishings
Household goods & furnishings. No single item                                     R.C. § 2329.66(A)(4)(b)                          200.00                    200.00
valued at more than $200.

Books, Pictures and Other Art Objects; Collectibles
Misc: Books, Pictures, Video tapes, CD's            Ohio Rev. Code Ann. §                                                           25.00                     25.00
                                                    2329.66(A)(4)(b)

Wearing Apparel
Clothing                                                                          R.C. § 2329.66(A)(3)                             100.00                    100.00

Furs and Jewelry
Misc: Watch, Jewerly                                                              Ohio Rev. Code Ann. §                             50.00                     50.00
                                                                                  2329.66(A)(4)(c)

Bracelets (6)                                                                     Ohio Rev. Code Ann. §                            300.00                    300.00
$50 @                                                                             2329.66(A)(4)(c)

Firearms and Sports, Photographic and Other Hobby Equipment
20 ga shotgun                                   Ohio Rev. Code Ann. §                                                               50.00                     50.00
                                                2329.66(A)(4)(b)

Other Liquidated Debts Owing Debtor Including Tax Refund
2004 Federal $334 and State $53 Tax Refunds.     Ohio Rev. Code Ann. §                                                             387.00                    387.00
                                                 2329.66(A)(4)(a)

Automobiles, Trucks, Trailers, and Other Vehicles
1989 Chevy Caprice                                                                Ohio Rev. Code Ann. § 2329.66(A)(2)              200.00                    200.00
No lien




    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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 Form B6D
 (12/03)


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   In re          Ruby Frances Solomon                                                                                             Case No.
                                                                                                                      ,
                                                                                                      Debtor

                                       SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
      State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property
 of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
 and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
 garnishments, statutory liens, mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the extent practicable. If all
 secured creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community."
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                 C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME,                                   O                                                             O    N   I
                                                                 D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                                   E                                                             T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                  B   W           NATURE OF LIEN, AND                           I    Q   U                      PORTION IF
                                                                 T   J     DESCRIPTION AND MARKET VALUE                        N    U   T
                                                                                                                                               DEDUCTING
           AND ACCOUNT NUMBER                                    O                                                             G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                     C                OF PROPERTY
                                                                 R
                                                                                    SUBJECT TO LIEN
                                                                                                                               E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                            2002                                                         E
                                                                       First mortgage                                               D
                                                                       3580 East 143rd Street
Chase Mortgage                                                         Cleveland, OH 44120
9225 Indian Creek Pkwy. 9th Floor                                      See attached legal description
                                                                       Liens:
Overland Park, KS 66210
                                                                     - 1) Chase Mort $51,500
                                                                          To retain collateral and make regular

                                                                          Value $                              60,000.00                         51,500.00                   0.00
Account No.                                                              11/21/03

GMAC                                                                     Lien recorded on certificate of title
25000 Great Northern Corp Ctr #340
                                                                       2001 Chevy Impala
North Olmsted, OH 44070
                                                                     - Lien: GMAC $10,000
                                                                            To be surrendered
                                                                          Value $                              10,000.00                         10,000.00                   0.00
Account No.




                                                                          Value $
Account No.




                                                                          Value $
                                                                                                                            Subtotal
 0
_____ continuation sheets attached                                                                                                               61,500.00
                                                                                                                   (Total of this page)
                                                                                                                              Total              61,500.00
                                                                                                    (Report on Summary of Schedules)

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  In re          Ruby Frances Solomon                                                                                    Case No.
                                                                                                                   ,
                                                                                                 Debtor

                      SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
     unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
     including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
     debtor, as of the date of the filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
     and the creditor and may be provided if the debtor chooses to do so.

          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
     on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them or
     the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".

         If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
     "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
     columns.)

          Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this Schedule E
     in the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

          Extensions of credit in an involuntary case
       Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

          Wages, salaries, and commissions
       Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
    independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the original petition, or the
    cessation of business, which ever occurred first, to the extent provided in 11 U.S.C. § 507 (a)(3).

          Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).

          Deposits by individuals
        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(6).

          Alimony, Maintenance, or Support
          Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C. § 507(a)(7).

          Taxes and Certain Other Debts Owed to Governmental Units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C § 507(a)(8).

         Commitments to Maintain the Capital of an Insured Depository Institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).

   *Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
    adjustment.

                                                                                      0   continuation sheets attached
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   In re          Ruby Frances Solomon                                                                                      Case No.
                                                                                                                        ,
                                                                                                      Debtor


                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
 priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor
 has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in
 Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community maybe liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                           O                                                           O   N   I
                 AND MAILING ADDRESS                                           D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                          E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                   W
                 AND ACCOUNT NUMBER
                                                                               B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                       AMOUNT OF CLAIM
                                                                               T   J                                                       N   U   T
                                                                               O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                   R
                                                                                   C
                                                                                                                                           E   D   D
                                                                                                                                           N   A
Account No. 3151                                                                       05                                                  T   T
                                                                                                                                               E
                                                                                       Revolving account                                       D

Bank One
Attn: Bankruptcy Dept                                                              -
528 South Main Street
Akron, OH 44301
                                                                                                                                                                       1,804.12
Account No. 7079                                                                       05
                                                                                       Revolving account
Capital One Bank
P.O. Box 85167                                                                     -
Richmond, VA 23285-5167

                                                                                                                                                                       1,117.32
Account No. 8858                                                                       05
                                                                                       Revolving account
Chase
P.O. Box 15583                                                                     -
Wilmington, DE 19886-1194

                                                                                                                                                                       4,776.80
Account No. 3151                                                                       05
                                                                                       Revolving account
Chase
P.O. Box 15583                                                                     -
Wilmington, DE 19886-1194

                                                                                                                                                                       2,079.44

                                                                                                                                         Subtotal
 2
_____ continuation sheets attached                                                                                                                                     9,777.68
                                                                                                                               (Total of this page)




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   In re            Ruby Frances Solomon                                                                                    Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
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                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                               B                                                           I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 6035                                                                       05                                                      E
                                                                                       Revolving account                                       D

Citi Card
P.O. Box 8112                                                                      -
South Hackensack, NJ 07606-8112

                                                                                                                                                                    1,167.61
Account No. 3231                                                                       05
                                                                                       Revolving account
Citi Cards
P.O. Box 8105                                                                      -
South Hackensack, NJ 07606-8105

                                                                                                                                                                    1,987.23
Account No. 0929                                                                       05
                                                                                       Utility expense
Dominion East Ohio Gas Company
ATTN: Bankruptcy                                                                   -
1717 East Ninth Street
Cleveland, OH 44114
                                                                                                                                                                    2,768.24
Account No. 7857                                                                       05
                                                                                       Revolving account
GM Cardmember Services
Dept. 9600                                                                         -
Carol Stream, IL 60128-9600

                                                                                                                                                                      992.67
Account No. 1318                                                                       04
                                                                                       Utility expense
Illuminating Company
Attn: Bankruptcy Department                                                        -
6896 Miller Road
Brecksville, OH 44141-3222
                                                                                                                                                                        67.49

            1 of _____
Sheet no. _____    2     sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                   6,983.24
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Ruby Frances Solomon                                                                                          Case No.
                                                                                                                         ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                             C   U   D
                      CREDITOR'S NAME,                                         O                                                                  O   N   I
                    AND MAILING ADDRESS                                        D   H                                                              N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
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                                                                                               DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                               B                                                                  I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                       (See instructions.)                                     R                                                                  E   D   D
                                                                                                                                                  N   A
                                                                                                                                                  T   T
Account No. 8016                                                                       04                                                             E
                                                                                       Revolving account                                              D

JCPenney
Attn: Bankruptcy                                                                   -
P.O. Box 405006
Cincinnati, OH 45240-5006
                                                                                                                                                                             170.77
Account No. 0359                                                                       05
                                                                                       Utility expense
SBC Ameritech Company
ATTN: Consumer Bankruptcy                                                          -
P.O. Box 769
Arlington, TX 76004
                                                                                                                                                                             169.00
Account No. 0099                                                                       05
                                                                                       Revolving account
Sears Credit Card
fka Sears, Roebuck, & Company                                                      -
Attn: Bankruptcy Department
P.O. Box 182149
Columbus, OH 43218-2149                                                                                                                                                      428.29
Account No. 1516                                                                       05
                                                                                       Revolving account
Sears Credit Card
fka Sears, Roebuck, & Company                                                      -
Attn: Bankruptcy Department
P.O. Box 182149
Columbus, OH 43218-2149                                                                                                                                                      409.95
Account No.




            2 of _____
Sheet no. _____    2     sheets attached to Schedule of                                                                                         Subtotal
                                                                                                                                                                           1,178.01
Creditors Holding Unsecured Nonpriority Claims                                                                                        (Total of this page)
                                                                                                                                                  Total
                                                                                                                        (Report on Summary of Schedules)                 17,938.93


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  In re             Ruby Frances Solomon                                                                         Case No.
                                                                                                       ,
                                                                                       Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
               State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
               Provide the names and complete mailing addresses of all other parties to each lease or contract described.

               NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate
                     schedule of creditors.

                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                             State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                   State contract number of any government contract.




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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  In re             Ruby Frances Solomon                                                                     Case No.
                                                                                                  ,
                                                                                       Debtor

                                                                        SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
     debtor in the schedules of creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should
     report the name and address of the nondebtor spouse on this schedule. Include all names used by the nondebtor spouse during the six years
     immediately preceding the commencement of this case.

               Check this box if debtor has no codebtors.

                     NAME AND ADDRESS OF CODEBTOR                                         NAME AND ADDRESS OF CREDITOR




       0         continuation sheets attached to Schedule of Codebtors

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 In re     Ruby Frances Solomon                                                               Case No.
                                                                  Debtor(s)


                             SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.
 Debtor's Marital Status:                                              DEPENDENTS OF DEBTOR AND SPOUSE
                                         RELATIONSHIP                                                 AGE
       Divorced


 EMPLOYMENT                                              DEBTOR                                                  SPOUSE
 Occupation                        Temp worker
 Name of Employer                  Minuteman Temp Agency
 How long employed                 2 months
 Address of Employer               3900 Carnegie Avenue
                                   Cleveland, OH
 INCOME: (Estimate of average monthly income)                                                              DEBTOR                  SPOUSE
 Current monthly gross wages, salary, and commissions (pro rate if not paid monthly)                $          1,460.00     $              0.00
 Estimated monthly overtime                                                                         $              0.00     $              0.00

 SUBTOTAL                                                                                           $          1,460.00     $              0.00

       LESS PAYROLL DEDUCTIONS
       a. Payroll taxes and social security                                                         $            147.83     $              0.00
       b. Insurance                                                                                 $              0.00     $              0.00
       c. Union dues                                                                                $              0.00     $              0.00
       d. Other (Specify)                                                                           $              0.00     $              0.00
                                                                                                    $              0.00     $              0.00

       SUBTOTAL OF PAYROLL DEDUCTIONS                                                               $            147.83     $              0.00

 TOTAL NET MONTHLY TAKE HOME PAY                                                                    $          1,312.17     $              0.00

 Regular income from operation of business or profession or farm (attach detailed statement)        $              0.00     $              0.00
 Income from real property                                                                          $              0.00     $              0.00
 Interest and dividends                                                                             $              0.00     $              0.00
 Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
 dependents listed above                                                                            $              0.00     $              0.00
 Social security or other government assistance
 (Specify)          Social Security                                                                 $            630.00     $              0.00
                                                                                                    $              0.00     $              0.00
 Pension or retirement income                                                                       $              0.00     $              0.00
 Other monthly income
 (Specify)                                                                                          $              0.00     $              0.00
                                                                                                    $              0.00     $              0.00


 TOTAL MONTHLY INCOME                                                                               $          1,942.17     $              0.00

 TOTAL COMBINED MONTHLY INCOME                          $                     1,942.17               (Report also on Summary of Schedules)
Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of
this document:




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 In re   Ruby Frances Solomon                                                                 Case No.
                                                                  Debtor(s)


             SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
   Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments made bi-
weekly, quarterly, semi-annually, or annually to show monthly rate.

o Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
labeled "Spouse."
Rent or home mortgage payment (include lot rented for mobile home)                                                   $                372.54
Are real estate taxes included?                                 Yes               No X
Is property insurance included?                                 Yes               No X
Utilities:         Electricity and heating fuel                                                                      $                125.00
                   Water and sewer                                                                                   $                 20.00
                   Telephone                                                                                         $                 50.00
                   Other      Cell phone                                                                             $                 10.00
Home maintenance (repairs and upkeep)                                                                                $                 75.00
Food                                                                                                                 $                325.00
Clothing                                                                                                             $                 50.00
Laundry and dry cleaning                                                                                             $                 35.00
Medical and dental expenses                                                                                          $                 75.00
Transportation (not including car payments)                                                                          $                195.00
Recreation, clubs and entertainment, newspapers, magazines, etc.                                                     $                 25.00
Charitable contributions                                                                                             $                 15.00
Insurance (not deducted from wages or included in home mortgage payments)
                   Homeowner's or renter's                                                                           $                 53.00
                   Life                                                                                              $                  0.00
                   Health                                                                                            $                  0.00
                   Auto                                                                                              $                194.00
                   Other                                                                                             $                  0.00
Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Real estate taxes                                                                         $                   70.00
Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the plan.)
                   Auto                                                                                              $                  0.00
                   Other      Automobile - GMAC                                                                      $                261.00
                   Other                                                                                             $                  0.00
                   Other                                                                                             $                  0.00
Alimony, maintenance, and support paid to others                                                                     $                  0.00
Payments for support of additional dependents not living at your home                                                $                  0.00
Regular expenses from operation of business, profession, or farm (attach detailed statement)                         $                  0.00
Other      Personal exp: Hair care, toiletries ...                                                                   $                 25.00
Other                                                                                                                $                  0.00

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                     $                   1,975.54

[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some other
regular interval.
A.   Total projected monthly income                                                                                  $                    N/A
B.   Total projected monthly expenses                                                                                $                    N/A
C.   Excess income (A minus B)                                                                                       $                    N/A
D.   Total amount to be paid into plan each                                                                          $                    N/A
                                                               (interval)




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                                                                  United States Bankruptcy Court
                                                                             Northern District of Ohio
 In re       Ruby Frances Solomon                                                                                   Case No.
                                                                                              Debtor(s)             Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                17  sheets [total shown on summary page plus 1], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date March 21, 2005                                                            Signature     /s/ Ruby Frances Solomon
                                                                                              Ruby Frances Solomon
                                                                                              Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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                                                                  United States Bankruptcy Court
                                                                             Northern District of Ohio
 In re       Ruby Frances Solomon                                                                              Case No.
                                                                                              Debtor(s)        Chapter     7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs.

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any
of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
     o         business from the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
               two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a
               fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a
               joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income
               of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE (if more than one)
                           $1,500.00                                2005 income to date
                           $3,765.00                                2004 income
                           $10,878.00                               2003 income

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
     o         during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $1,890.00                                2005 Social Security to date
                           $7,500.00                                2004 Social Security
                           $7,300.00                                2003 Social Security


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                3. Payments to creditors

    None        a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor,
     o          made within 90 days immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                petition is not filed.)

 NAME AND ADDRESS                                                                   DATES OF                                           AMOUNT STILL
     OF CREDITOR                                                                   PAYMENTS                       AMOUNT PAID            OWING
 No payments in excess of normal monthly                                                                               $0.00               $0.00
 amounts on secured debt. No unsecured
 debt paid in excess of $600 in last 90 days.

    None       b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who
     n         are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
               not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                AMOUNT PAID            OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
     n         this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                              COURT OR AGENCY         STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                         AND LOCATION            DISPOSITION

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                  DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE               PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
     n         returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                   PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
     n         this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                       TERMS OF ASSIGNMENT OR SETTLEMENT




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    None        b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
     n          preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
     n         and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT      VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
     n         since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
     o         concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                       AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                            OF PROPERTY
 Knevel & Associates Co LPA                                                       3/14/05                              $250.00
 629 Euclid Avenue, 519
 Cleveland, OH 44114

               10. Other transfers

    None       List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
     n         either absolutely or as security within one year immediately preceding the commencement of this case. (Married debtors filing under
               chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are
               separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED




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                11. Closed financial accounts

    None        List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
     n          otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
                financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
                cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
                include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
                unless the spouses are separated and a joint petition is not filed.)

                                                                                        TYPE OF ACCOUNT, LAST FOUR
                                                                                        DIGITS OF ACCOUNT NUMBER,        AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                       AND AMOUNT OF FINAL BALANCE              OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
     n         immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                      DESCRIPTION             DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                      OF CONTENTS              SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
     n         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                         AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.
     n
                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                        LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor
     n         occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                              DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
     n         Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME




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               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
     n         or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                        DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                          NOTICE                 LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
     n         Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                        DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                          NOTICE                 LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
     n         the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
     n         ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership,
               sole proprietorship, or was a self-employed professional within the six years immediately preceding the commencement of this case, or
               in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately preceding the
               commencement of this case.
                           If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                      beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity
                      securities, within the six years immediately preceding the commencement of this case.
                           If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                      beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity
                      securities within the six years immediately preceding the commencement of this case.

                                        TAXPAYER                                                                            BEGINNING AND ENDING
 NAME                                   I.D. NO. (EIN)             ADDRESS                        NATURE OF BUSINESS        DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
     n
 NAME                                                                           ADDRESS




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                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date March 21, 2005                                                            Signature     /s/ Ruby Frances Solomon
                                                                                              Ruby Frances Solomon
                                                                                              Debtor
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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(12/03)

                                                                  United States Bankruptcy Court
                                                                             Northern District of Ohio
 In re       Ruby Frances Solomon                                                                                        Case No.
                                                                                              Debtor(s)                  Chapter    7


                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
1.    I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.

2.    I intend to do the following with respect to the property of the estate which secures those consumer debts:

             a. Property to Be Surrendered.
              Description of Property                                                               Creditor's name
 1.           2001 Chevy Impala                                                                     GMAC
              Lien: GMAC $10,000
                   To be surrendered

             b. Property to Be Retained                                                                             [Check any applicable statement.]
                                                                                                                              Property will be   Debt will be
              Description                                                                                  Property is        redeemed           reaffirmed
              of                                                                Creditor's                 claimed as         pursuant to 11     pursuant to 11
              Property                                                          Name                       exempt             U.S.C. § 722       U.S.C. § 524(c)
              -NONE-


 Date March 21, 2005                                                            Signature     /s/ Ruby Frances Solomon
                                                                                              Ruby Frances Solomon
                                                                                              Debtor




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                                                                  United States Bankruptcy Court
                                                                             Northern District of Ohio
 In re       Ruby Frances Solomon                                                                                       Case No.
                                                                                              Debtor(s)                 Chapter    7


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                           $                  250.00
              Prior to the filing of this statement I have received                                                 $                  250.00
              Balance Due                                                                                           $                    0.00

2.     The source of the compensation paid to me was:

              n    Debtor            o Other (specify):

3.     The source of compensation to be paid to me is:

              n    Debtor            o Other (specify):

4.       n   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
                 See written contract which sets forth terms and conditions of employment. Attorney compensation statement is
                 not a part of the contract and is provided for informational purposes only.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       March 21, 2005                                                                  /s/ Michael Attali 0075724 / Mark Knevel 0029285
                                                                                              Michael Attali 0075724 / Mark Knevel 0029285
                                                                                              KNEVEL & ASSOCIATES CO LPA
                                                                                              629 Euclid Avenue - Suite 519
                                                                                              Cleveland, OH 44114
                                                                                              (216) 623-1901 Fax: (216) 523-7801
                                                                                              mknevel@knevel.com




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                                                                  United States Bankruptcy Court
                                                                             Northern District of Ohio
 In re       Ruby Frances Solomon                                                                              Case No.
                                                                                              Debtor(s)        Chapter    7




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      March 21, 2005                                                      /s/ Ruby Frances Solomon
                                                                                Ruby Frances Solomon
                                                                                Signature of Debtor




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                          Bank One
                          Attn: Bankruptcy Dept
                          528 South Main Street
                          Akron, OH 44301

                          Capital One Bank
                          P.O. Box 85167
                          Richmond, VA 23285-5167


                          Chase
                          P.O. Box 15583
                          Wilmington, DE 19886-1194

                          Chase
                          P.O. Box 15583
                          Wilmington, DE 19886-1194

                          Chase Mortgage
                          9225 Indian Creek Pkwy. 9th Floor
                          Overland Park, KS 66210

                          Citi Card
                          P.O. Box 8112
                          South Hackensack, NJ 07606-8112

                          Citi Cards
                          P.O. Box 8105
                          South Hackensack, NJ 07606-8105

                          Dominion East Ohio Gas Company
                          ATTN: Bankruptcy
                          1717 East Ninth Street
                          Cleveland, OH 44114

                          GM Cardmember Services
                          Dept. 9600
                          Carol Stream, IL 60128-9600

                          GMAC
                          25000 Great Northern Corp Ctr #340
                          North Olmsted, OH 44070




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                      Illuminating Company
                      Attn: Bankruptcy Department
                      6896 Miller Road
                      Brecksville, OH 44141-3222

                      JCPenney
                      Attn: Bankruptcy
                      P.O. Box 405006
                      Cincinnati, OH 45240-5006


                      SBC Ameritech Company
                      ATTN: Consumer Bankruptcy
                      P.O. Box 769
                      Arlington, TX 76004

                      Sears Credit Card
                      fka Sears, Roebuck, & Company
                      Attn: Bankruptcy Department
                      P.O. Box 182149
                      Columbus, OH 43218-2149

                      Sears Credit Card
                      fka Sears, Roebuck, & Company
                      Attn: Bankruptcy Department
                      P.O. Box 182149
                      Columbus, OH 43218-2149




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